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     Grand Junction Peace Officers' Association, a/k/a Grand Junction Police Officers' FOP Lodge 68, on behalf of its members and on behalf of all others similarly situated, Petitioner  v.  City of Grand Junction; Claudia Hazelhurst, in her individual and official capacity; Jodilyn Romero, n/k/a Jodilyn Welch in her individual and official capacity; and Gregory Caton, in his individual and official capacity. Respondents No. 24SC604Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1704
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    